TO:

FROM:

Date:

PROPOSED ORDER/COVER SHEET

Honorable Howard R. Lloyd RE: KUBUROVICH, Goyko Gustav

 

U.S. Magistrate Judge

Roy Saenz, Chief Docket No.: CR 16-000373 EJD
U.S. Pretrial Services Officer

October 31, 2017

THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

Diego Romero (408) 535-5230

 

USS. Pretrial Services Officer TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

I have reviewed the information that you have supplied. I do not believe that this matter requires any

action by this Court at this time.
nome parties concerned that I will fondyct a Bail Review TS Courtroom No.
on at . .

Inform all parties concerned that a Bail Review Hearing will be conducted by:
Magistrate Judge Presiding District Court Judge

   
 

I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
Pretrial Release conditions as indicated below:

Modification(s)
A. Defendant shall submit to drug testing, as directed by Pretrial Services.
B.

Bail Revoked/Bench Warrant Issued.

I am returning the signed order and direct that a copy be provided to the Court file and all interested
parties(AUSA and Defense Counsel).

Other Instructions:

 

 

 

 

 

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